Case:22-01266-MER Doc#:13 Filed:02/22/23               Entered:02/22/23 11:15:06 Page1 of 1




                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
 In re:                                    )
                                           )
 SPRINGS MEDICAL ASSOCIATES, PC.,          ) Case No. 20-17026-MER
                                           )
               Debtor.                     ) Chapter 7
                                           )
                                           )
                                           )
 JOLI A. LOFSTEDT,                         ) Adv. Proceeding No. 22-01266-MER
 Chapter 7 Trustee,                        )
                                           )
              Plaintiff,                   )
                                           )
 v.                                        )
                                           )
 INPATIENT CONSULTANTS OF                  )
 COLORADO, PC,                             )
                                           )
              Defendant.                   )

                                          JUDGMENT


        Judgment hereby enters in favor of Joli A. Lofstedt, as chapter 7 trustee of the bankruptcy
estate of Springs Medical Associates, PC, and against InPatient Consultants of Colorado, PC, in
the amount of $6,897.00.

          February 22
Dated: ___________________, 2023

                                                        FOR THE COURT:

                                                        Kenneth
                                                          nneth S. Gardner, Clerk of Court
                                                                                     C


                                                        By:
                                                         y: __________________________
                                                            _________________________
                                                                Deputy
                                                                Deputy Clerk




 APPROVED AND
           ND ACCEPTED:

 By: __________________________
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                                  ____
        Michael E. Romer
                    Romeroro
        United St
               States
                tat
                 ates
                   e B
                   es Bankruptcy
                        ankruptcy Judge
